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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

JOHN SMYTH, ADMINISTRATOR OF                                  :
THE ESTATE OF ROBERT R. SMYTH                                 :
(DECEASED)                                                    :
                                                              :
         Plaintiff                                            :
                                                              :       C.A. No. 1:16-cv-00205-
                  VS.                                         :       JJM-LDA
                                                              :
THE UNITED STATES OF AMERICA                                  :       May 23, 2018

         Defendant


                            JOINT STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the Plaintiff and the

Defendant in the above captioned case hereby stipulate to a dismissal of this action with

prejudice, each party to bear their own attorney’s fees, costs and expenses, and waiving any

rights of appeal.

         Defendant’s counsel has reviewed this stipulation and has authorized Plaintiff’s counsel

to file it jointly.
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                              THE PLAINTIFF

                              By    /s/   Sean K. McElligott
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                              THE DEFENDANT

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                                CERTIFICATION OF SERVICE

        I hereby certify that on the 23rd day of May, 2018, I electronically filed the Joint Stipulation
of Dismissal with the Clerk of the United States District Court for the District of Rhode Island
using the CM/ECF System. I have electronically forwarded a copy to the following:

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                                               /s/     Sean K. McElligott
                                               SEAN K. MCELLIGOTT




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